                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

MICHAEL DAVID SILLS and MARY      )
SILLS,                            )
                                  )
       Plaintiffs,                )
                                  )                 Case No. 3:23-cv-00478
v.                                )                 Chief Judge Campbell
                                  )                 Magistrate Judge Frensley
SOUTHERN BAPTIST CONVENTION, )
a non-profit corporation; et al., )                 JURY TRIAL DEMANDED
                                  )
       Defendants.                )


           SUPPLEMENTAL JOINT CASE RESOLUTION STATUS REPORT


       Pursuant to the Court’s Order entered April 16, 2025 [D.E. 237], Plaintiffs Michael David

Sills and Mary Sills and Defendants Southern Baptist Convention (“SBC”), Dr. Ed Litton, Jennifer

Lyell, Executive Committee of the Southern Baptist Convention (“EC”), Bart Barber, Willie

McLaurin, Rolland Slade, the Southern Baptist Theological Seminary (“Seminary”), Dr. R. Albert

Mohler, and Guidepost Solutions, LLC (“Guidepost”) file this Joint Status Report to update the

Court regarding their agreed upon mediator and the date of the scheduled mediation. The parties

are scheduled to mediate with John W. Perry, Jr., on April 28, 2025.

                                                    Respectfully submitted,


                                                    s/ Brigid M. Carpenter
                                                    Brigid M. Carpenter (BPR #018134)
                                                    Ryan P. Loofbourrow (BPR #033414)
                                                    BAKER, DONELSON, BEARMAN,
                                                    CALDWELL & BERKOWITZ, P.C.
                                                    bcarpenter@bakerdonelson.com




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                                         rloofbourrow@bakerdonelson.com
                                         1600 West End Avenue, Suite 2000
                                         Nashville, Tennessee 37203
                                         Telephone: (615) 726-7341
                                         Fax: (615) 744-7341

                                         Attorneys for Executive Committee of the
                                         Southern Baptist Convention and Rolland
                                         Slade


                                         s/ Katherine Barrett Riley by BMC by
                                         permission
                                         John W. Barrett (Admitted Pro Hac Vice)
                                         Katherine Barrett Riley (BPR #021155)
                                         Barrett Law Group. P.A.
                                         P.O. Box 927
                                         404 Court Square
                                         Lexington, Mississippi 39095
                                         dbarrett@barrettlawgroup.com
                                         kbriley@barrettlawgroup.com

                                         Shannon M. McNulty
                                         (Admitted Pro Hac Vice)
                                         Clifford Law Offices, P.C.
                                         120 N. LaSalle Street, Suite 3100
                                         Chicago, Illinois 60602
                                         smm@cliffordlaw.com

                                         Gary E. Brewer (BPR #000942)
                                         Brewer & Terry, P.C.
                                         1702 W. Andrew Johnson HWY
                                         Morristown, Tennessee 37816-2046
                                         robin@brewerandterry.com

                                         Attorneys for Plaintiffs



                                         s/ Byron E. Leet by BMC by permission
                                         Byron E. Leet (Admitted Pro Hac Vice)
                                         Wyatt, Tarrant & Combs
                                         400 West Market Street
                                         Louisville, Kentucky 40202
                                         bleet@wyattfirm.com



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                                         James C. Bradshaw, III (BPR #13170)
                                         Wyatt, Tarrant & Combs, LLP
                                         333 Commerce Street, Suite 1050
                                         Nashville, Tennessee 37201
                                         jbradshaw@wyattfirm.com

                                         Thomas E. Travis (Admitted Pro Hac Vice)
                                         Wyatt, Tarrant & Combs
                                         250 W. Main Street, Suite 1600
                                         Lexington, Kentucky
                                         ttravis@wyattfirm.com

                                         Attorneys for The Southern Baptist
                                         Theological Seminary and
                                         Dr. R. Albert Mohler


                                         s/ Ronald G. Harris by BMC by permission
                                         Philip N. Elbert (BPR #009430)
                                         Ronald G. Harris (BPR #009054)
                                         Mariam N. Stockton (BPR #029750)
                                         Satchel Fowler (BPR #039624)
                                         Neal & Harwell, PLC
                                         1201 Demonbreun Street, Suite 1000
                                         Nashville, Tennessee 37203
                                         oarboneaux@nealharwell.com
                                         pelbert@nealharwell.com
                                         rharris@nealharwell.com

                                         Attorneys for Jennifer Lyell




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                                         s/ Matthew C. Pietsch by BMC by
                                         permission
                                         Louis Gino Marchetti, Jr. (BPR #005562)
                                         Matthew C. Pietsch (BPR #024659)
                                         Taylor, Pigue, Marchetti & Blair, PLLC
                                         2908 Poston Avenue
                                         Nashville, Tennessee 37203
                                         gmarchetti@tpmblaw.com
                                         matt@tpmblaw.com

                                         Attorneys for Southern Baptist Convention,
                                         Dr. Ed Litton and Bart Barber



                                         s/ Katharine R. Klein by BMC by permission
                                         John R. Jacobson (BPR #014365)
                                         Katharine R. Klein (BPR #019336)
                                         Riley & Jacobson
                                         1906 West End Avenue
                                         Nashville, Tennessee 37203
                                         jjacobson@rjfirm.com
                                         kklein@rjfirm.com

                                         Attorneys for Guidepost Solutions, LLC


                                         s/ Alan S. Bean by BMC by permission
                                         Alan S. Bean (BPR #26194)
                                         Starnes Davis Florie LLP
                                         3000 Meridian Boulevard, Suite 350
                                         Franklin, Tennessee 37067
                                         abean@starneslaw.com

                                         Attorney for Willie McLaurin




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                                 CERTIFICATE OF SERVICE
        I hereby certify that the foregoing Supplemental Joint Case Resolution Status Report was
filed electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
system to all parties indicated on the electronic filing receipt. All other parties will be served by
regular United States mail. Parties may access this filing through the Court's electronic filing
system.


John W. Barrett                                       James C. Bradshaw, III
Katherine Barrett Riley                               Wyatt, Tarrant & Combs, LLP
Barrett Law Group. P.A.                               333 Commerce Street, Suite 1050
P.O. Box 927                                          Nashville, Tennessee 37201
404 Court Square                                      jbradshaw@wyattfirm.com
Lexington, Mississippi 39095
dbarrett@barrettlawgroup.com                          Byron E. Leet
kbriley@barrettlawgroup.com                           Wyatt, Tarrant & Combs
                                                      400 West Market Street
Shannon M. McNulty                                    Louisville, Kentucky 40202
Clifford Law Offices, P.C.                            bleet@wyattfirm.com
120 N. LaSalle Street, Suite 3100
Chicago, Illinois 60602                               Thomas E. Travis
smm@cliffordlaw.com                                   Wyatt, Tarrant & Combs
                                                      250 W. Main Street, Suite 1600
Gary E. Brewer                                        Lexington, Kentucky
Brewer & Terry, P.C.                                  ttravis@wyattfirm.com
1702 W. Andrew Johnson HWY
Morristown, Tennessee 37816-2046                      Attorneys for The Southern Baptist
robin@brewerandterry.com                              Theological Seminary and
                                                      Dr. R. Albert Mohler
Attorneys for Plaintiffs

Philip N. Elbert                                      Louis Gino Marchetti, Jr.
Ronald G. Harris                                      Matthew C. Pietsch
Mariam N. Stockton                                    Taylor, Pigue, Marchetti & Blair, PLLC
Satchel Fowler                                        2908 Poston Avenue
Neal & Harwell, PLC                                   Nashville, Tennessee 37203
1201 Demonbreun Street, Suite 1000                    gmarchetti@tpmblaw.com
Nashville, Tennessee 37203                            matt@tpmblaw.com
pelbert@nealharwell.com
rharris@nealharwell.com                               Attorneys for Southern Baptist Convention,
mstockton@nealharwell.com                             Dr. Ed Litton and Bart Barber
sfowler@nealharwell.com

Attorneys for Jennifer Lyell



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Alan S. Bean                                     John R. Jacobson
Starnes Davis Florie, LLP                        Katharine R. Klein
3000 Meridian Boulevard                          Riley & Jacobson
Suite 350                                        1906 West End Avenue
Franklin, Tennesse 37067-6321                    Nashville, Tennessee 37203
abean@starneslaw.com                             jjacobson@rjfirm.com
                                                 kklein@rjfirm.com
Attorney for Willie McLaurin
                                                 Attorneys for Guidepost Solutions, LLC


this 18th day of April, 2025.

                                          s/ Brigid M. Carpenter
                                          Brigid M. Carpenter




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